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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

 EDWARD J. DELL ,

        Petitioner,

 v.                                                        CASE NO: 8:10-cv-560-T-30MAP
                                                           Crim. Case No: 8:06-cr-314-T-30MAP
 UNITED STATES OF AMERICA,

       Respondent.
 ____________________________________/

                                          ORDER

        THIS CAUSE comes before the Court upon Petitioner’s Motion to Vacate, Set Aside,

 or Correct Sentence Pursuant to 28 U.S.C. §2255 (CV Dkt. #1) filed on March 3, 2010, the

 Government’s Response (CV Dkt. #5) filed on May 7, 2010, and Petitioner's reply (CV Dkt.

 #7) filed on June 11, 2010.

                                         Background

        Petitioner, EDWARD J. DELL (hereinafter referred to as “Dell” or “Petitioner”) was

 charged with conspiracy to possess with intent to distribute crack cocaine, in violation of 21

 U.S.C. § 846, possession with intent to distribute crack cocaine, in violation of § 841(a)(1),

 (b)(1)(C), distribution of crack cocaine, in violation of § 841(a)(1), (b)(1)(B), and knowingly

 opening, using, and maintaining a place for the purpose of manufacturing and distributing

 cocaine base, in violation of § 856. A jury convicted Dell as charged. On November 7, 2007,

 this Court sentenced Dell to 235 months of imprisonment and 60 months of supervised

 release.
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        Dell appealed to the Eleventh Circuit Court of Appeals. In his brief, Dell admitted that

 trial evidence shows his participation in the drug conspiracy on February 25, 2005,

 September 28, 2005, October 3, 2005, and October 10, 2005, but claimed the drug amount

 attributable to him should be “at the most, 50 grams.” Attachment A at 8. Dell asserted that

 this “Court erred by failing to both determine the scope of [his] criminal activity... and to

 specify the amount of crack cocaine attributable to ... Dell in the entire case.” United States

 v. Henry, 307 Fed. Appx. 331, 336 (11th Cir. 2009), cert. denied, 129 S. Court. 2037 (2009).

 The Eleventh Circuit determined that the amount of drugs for which Dell was held

 accountable, 1.5 kilograms of crack cocaine, was reasonably foreseeable based on Dell’s

 “extensive[] involvement in the conspiracy.” Henry, 307 Fed. Appx. at 337. After the

 Eleventh Circuit affirmed Dell’s conviction, a petition for a writ of certiorari was denied by

 the Supreme Court on April 20, 2009.

        In August 2009, this Court appointed Dell counsel for the purpose of seeking a

 reduction in his sentence based on Dell’s motion filed pursuant to 18. U.S.C. § 3582(c)(2)

 that relied on Amendment 706 to the United States Sentencing Guidelines, a retroactive

 amendment that reduced the base offense levels for crack cocaine offenses that involved less

 than 4.5 kilograms of crack cocaine. This Court also ordered the United States Probation

 Office to prepare a supplemental PSR addressing whether Dell was eligible for a reduction

 in his sentence. Because Dell’s sentencing occurred after November 1, 2007, and he had

 already received the benefit of a sentencing reduction based on Amendment 706, this Court

 denied Dell any further relief on this basis.

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        On March 3, 2010, Dell filed a section 2255 motion and he alleges four grounds for

 relief as follows:

        Ground One: Counsel was ineffective on appeal for failing to raise a sentencing

        challenge pursuant to Kimbrough v. United States, 552 U.S. 85 (2007) or Gall v.

        United States, 552 U.S. 38 (2007). D-cv-1 at 10, 13.

        Ground Two: Counsel was ineffective for failing to sever his case or prepare a “key

        defense” by impeaching the government’s witnesses or by calling defense witnesses,

        “including the co[-]defendants.” D-cv-1 at 10, 14.

        Ground Three: Counsel was ineffective on appeal for failing to raise arguments

        concerning “drug quantity” or “specific intent.” D-cv-1 at 10, 15.

        Ground Four: “The sentencing court failed to create a record, sufficient for

        challenge and review,” or that, in the alternative, counsel was ineffective. D-cv-1 at

        11, 16. In the alternative, Dell argues that, should the Court deem the deficiency in

        the record to be a result of his counsel’s failure to object, this claim should be

        construed as an ineffective assistance of counsel claim.

                                  STANDARD OF REVIEW

        Under Title 28 U.S.C. § 2255, Petitioner may move the court which imposed the

 sentence to vacate, set aside or correct the sentence, only if he is claiming the right to be

 released upon the ground that:

        1.     the sentence was imposed in violation of the Constitution or laws of the United

               States;

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        2.     the court was without jurisdiction to impose such sentence;

        3.     the sentence was in excess of the maximum authorized by law; or

        4.     the sentence is otherwise subject to collateral attack.

        Ineffectiveness of counsel may be grounds for vacating a conviction if (1) counsel’s

 performance fell below an objective standard of reasonable professional assistance and (2)

 the defendant was prejudiced by the deficient performance. Strickland v. Washington, 466

 U.S. 687, 694. “There is no reason for a court deciding an ineffective assistance claim ... to

 address both components of the inquiry if the defendant makes an insufficient showing of

 one.” Strickland, 466 U.S. at 697. Thus, if Petitioner fails to show the he is prejudiced by the

 alleged errors of counsel, this Court may reject Petitioner’s claim without determining

 whether his counsel’s performance was deficient. See Coulter v. Herring, 60 F.3d 1499, 1504

 n.8 (11th Cir. 1995).

        The standard for assessing a claim of ineffective assistance of counsel is whether the

 counsel’s conduct so undermined the proper functioning of the adversarial process that it

 cannot be relied on as having produced a just result. Strickland, 466 U.S. at 668, 688. For

 performance to be deficient, it must be established that, in light of all the circumstances,

 counsel’s performance was outside the wide range of professional competence. Strickland,

 466 U.S. at 690. Because a lawyer is presumed to be competent to assist a defendant, the

 burden is on the accused to demonstrate the denial of the effective assistance of counsel.

 United States v. Cronic, 466 U.S. 648, 658 (1984). “The burden of persuasion is on a

 petitioner to prove, by a preponderance of competent evidence, that counsel’s performance

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 was unreasonable.” Chandler v. United States, 218 F.3d 1305, 1313 (11th Cir. 2000). The

 burden of persuasion is high and there is a strong presumption the counsel’s performance was

 reasonable. Strickland, 466 U.S. at 689-90. If the record is incomplete or unclear about

 counsel’s actions, then it is presumed that counsel exercised reasonable professional

 judgment. See Chandler, 218 F.3d at 1314-15 n. 15. Furthermore, for Petitioner to show

 deficient performance, he must establish that no competent attorney would have taken the

 actions his counsel did. Id. at 1315.

        Dell’s conviction became final on April 20, 2009, when his petition for certiorari

 review was denied. Therefore, Dell had until April 20, 2010, to file his § 2255 motion. Since

 Dell filed his motion on March 3, 2010, his motion is timely.

                                         Discussion

        Petitioner raises four grounds in his § 2255 motion.

 Ground One:

        In Ground One Dell claims that his “[a]ppellant[sic] counsel failed to appeal an issue

 which resulted in two co[-]defendants receiving remands and be sentenced to reduced prison

 time.” D-cv-1 at 13. Dell argues that his counsel should have raised the Supreme Court

 decisions Kimbrough v. United States, 552 U.S. 85, 90 (2007) (guidelines are now only “one

 factor among several courts must consider in determining an appropriate sentence”) or Gall

 v. United States, 552 U.S. 38, 47 (2007) (rejecting heightened standard of review for

 sentence outside guidelines range), in his appeal.



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        Generally, the Strickland standard of ineffectiveness of counsel applies to counsel at

 the appellate level as well as the trial level. Eagle v. Linahan, 279 F.3d 926, 938 (11th Cir.

 2001). Dell’s appellate counsel was not ineffective for not raising a Kimbrough issue

 because that issue was not raised at Dell’s sentencing. A defendant may not raise arguments

 on appeal that were not made to the sentencing judge.

        Dell’s co-defendants argued at their sentencing, which was separate from Dell’s, that

 the Court should calculate their guidelines on a 1:1 crack to powder ratio, i.e. treat crack

 cocaine the same as powder cocaine. The sentencing court ruled that was reason insufficient

 to support a variance. One month later, the Supreme Court ruled in Kimbrough that it was

 an acceptable reason. The Eleventh Circuit remanded the co-defendants’ cases to give this

 Court the opportunity to consider that argument. Since Dell’s counsel had not raised that

 argument at sentencing, it could not be made on appeal. Appellate counsel is not ineffective

 for failing to raise an issue that is barred.

        In Ground Four, Dell argues, in the alternative, that if the sentencing record is

 deficient because of his lawyer’s failure to object, then his sentencing counsel was

 ineffective. But sentencing counsel cannot be deemed ineffective either. Dell was sentenced

 November 7, 2007. Both Gall and Kimbrough were argued on October 2, 2007, and decided

 December 10, 2007. Therefore, Dell was sentenced before the Gall and Kimbrough

 decisions were entered. It is not ineffective assistance of counsel for an attorney to fail to

 foresee a change in the law, even when the change is such that the forfeited issue would have

 been, in hindsight, successful. This is the case even where the argument was reasonably

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 available. Pitts v. Cook, 923 F.2d 1568 (11th Cir. 1991). Therefore, Dell has not established

 deficient performance by either sentencing or appellate counsel and the Strickland test is not

 met. Accordingly, Ground One will be denied.

 Ground Two:

        In Ground Two, Dell contends that his counsel rendered ineffective assistance by not

 seeking severance of his trial from his co-defendants. Dell suggests severance would have

 allowed him “to compel and confront the co[-]defendants.” D-cv-1 at 14. Dell attaches no

 affidavits or other supporting evidence that his co-defendants were inclined to testify on his

 behalf or otherwise provide any type of exculpatory testimony. In fact, Dell fails to state what

 their testimony would have revealed or how it would have affected the outcome at a separate

 trial. As such, Dell fails to assert any possible basis for his counsel to move for severance,

 and does not show that he was prejudiced in any way by his counsel’s failure to seek

 severance. Therefore, Dell has failed to meet the Strickland test.

        Dell also claims that his counsel was constitutionally ineffective for failing to prepare

 a “key defense” by impeaching the government’s witnesses or by calling defense witnesses,

 “including the co[-]defendants” and alleges counsel “dissuaded” him from testifying on his

 own behalf. D-cv-1 at 10, 14. Dell’s arguments are not supported by any objective evidence

 beyond his own self-serving, post-conviction allegations and he fails to offer any facts that

 would merit relief.

        Dell has not established the second prong of the Strickland test, that counsel’s

 performance prejudiced him. In order to show that he was prejudiced, Dell must show that,

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 but for, counsel’s deficient performance, there is a reasonable probability that the result of

 the proceedings would have been different. Strickland, 466 U.S. at 690. Dell’s unsupported

 assertions address only a limited portion of the government’s proof, and wholly ignore the

 other evidence which demonstrated his guilt. Dell has failed to show a reasonable probability

 that the results of the proceeding would have changed and has not established that he was

 prejudiced. Therefore, Dell’s assertions concerning his counsel’s trial conduct do not

 demonstrate ineffective assistance under the Strickland test. Accordingly, Ground Two will

 be denied.

 Ground Three:

        Dell’s argument under Ground Three is unclear but seems to challenge his counsel’s

 effectiveness in appealing issues involving “drug quantity” and “specific intent.” D-cv-1 at

 15. Dell faults counsel for not “think[ing] prospectively [about the law] in order to preserve

 [Dell’s] rights.” Id. Dell’s vague assertions fail to identify what argument counsel should

 have raised on appeal. Vague, conclusory, speculative, or unsupported claims cannot support

 an ineffective assistance of counsel claim. Tejada v. Dugger, 941 F.2d 1551, 1559 (11th Cir.

 1991). Therefore, Dell’s assertions do not demonstrate sufficient grounds under the

 Strickland test. Accordingly, Ground Three will be denied.

Ground Four:

       Under Ground Four, Dell argues that “the sentencing court failed to create a record,

sufficient for challenge and review,” or that, in the alternative, counsel was ineffective. D-cv-

1 at 16. Other than the ineffective assistance of counsel at sentencing claim discussed as part

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of Ground One, Dell does not state a claim because he does not indicate how the record was

insufficient or in what way the record prejudiced him. Therefore, Dell has not stated sufficient

grounds to meet either prong of the Strickland test. Accordingly, Ground Four will be denied.

       It is therefore ORDERED AND ADJUDGED that:

       1.     Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence Pursuant to 28

U.S.C. §2255 (CV Dkt. #1) is DENIED.

       2.     The Clerk is to enter judgment for Respondent, United States of America,

terminate any pending motions, and close this case.

       3.     The Clerk is directed to terminate from pending status the motion to vacate

found at Dkt.#366, in the underlying criminal case, case number 8:06-cr-314-T-30MAP.

                                Certificate of Appealability

       Petitioner is hereby granted a certificate of appealability on the issue of whether his

sentencing counsel was ineffective for failing to raise an argument that the Court should grant

a downward variance treating the crack guidelines the same as that used for powder cocaine.

Subsequent to sentencing, this argument was accepted by the Supreme Court in Kimbrough

as a valid reason to support a downward variance from the guidelines.

       Dell was sentenced on November 7, 2007. The Kimbrough case was argued to the

Supreme Court on October 2, 2007, and decided December 10, 2007. The argument was

reasonably available to sentencing counsel but not made. Counsel for two of Dell’s co-

defendants did make the argument at a separate sentencing hearing, also before Kimbrough

was decided, and the Eleventh Circuit remanded their cases to this Court for consideration of

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 the Kimbrough argument. For the two co-defendants, this Court accepted their argument of

 a 1:1 crack to powder ratio and lowered their sentences.

            It would be just for this Court to treat Dell the same as his two co-defendants in

 determining his sentence. But this Court is constrained from concluding that sentencing

 counsel was ineffective because of the Eleventh Circuit’s prior ruling that counsel is not

 ineffective for failing to raise a claim before the law has actually changed, even when such

 argument is reasonably available and made by other counsel. Pitts v. Cook, 923 F.2d 1568

 (11th Cir. 1991). This Court is aware of the merit of such a rule, but concludes that Dell

 should be entitled to an appeal in the event the Eleventh Circuit were inclined to change it.

            As to proceeding on appeal in forma pauperis, Dell is directed to submit the

 appropriate motion and financial information for a determination of that issue.

            DONE and ORDERED in Tampa, Florida on March 28, 2011.




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 Counsel/Parties of Record
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